          Case 3:21-cr-00347-FAB Document 46 Filed 08/03/22 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
   Plaintiff,                                      Criminal no. 21-347 (FAB)
                v.

 JUAN LARA CARMONA
   Defendant.
              MOTION REQUESTING AUTHORIZATION TO FILE CJA VOUCHER

To the Honorable Court:

Comes now the defendant, Mr. Lara Carmona, and respectfully states and prays as follows:

   1. In compliance with Local Criminal Rule 144(b)(1), the undersigned hereby submits the

       instant Motion.

   2. In accordance to said rule, an attorney must seek authorization from the presiding officer if a

       CJA Payment Voucher is submitted past the 45-day period from the entry of judgment.

   3. The undersigned was appointed to represent Mr. Lara Carmona on September 15, 2021 and

       continued to represent the defendant through his sentencing hearing, and after completing

       some post-sentencing matters, which concluded on May 9, 2022. (See Docket Entry #3)

   4. This Court entered its judgment and April 27, 2022. (See Docket Entry #10)

   5. Accordingly, the last day to file the e-voucher was on June 24, 2022.

   6. The undersigned had prepared the corresponding CJA voucher by May 15, 2022, but had

       inadvertently forgotten to submit the same for review.

   7. Today, while verifying other vouchers, the undersigned became aware of the mistake.

   8. This unnoticed and unfortunate oversight delayed the timely submission the CJA Voucher

       for this case.

   WHEREFORE, the undersigned respectfully requests that the Court takes note of the present

motion and authorize the Motion for Authorization to File CJA Voucher.
          Case 3:21-cr-00347-FAB Document 46 Filed 08/03/22 Page 2 of 2



   RESPECTFULLY SUBMITTED.

   In San Juan, Puerto Rico, this 3rd day of August, 2022.

   I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S. Attorney’s

Office.

                                     s/ Diego H. Alcalá Laboy
                                      Diego H. Alcalá Laboy
                                          PO Box 12247
                                       Tel.: (787) 432-4910
                                      USDC-PR No. 300504
                                   dalcala@defensorialegal.com
